                                Case 2:07-md-01873-KDE-MBN Document 25647-7 Filed 05/29/12 Page 1 of 1
                                                                             EXHIBIT F
                                                                         Class Representatives




Defendant(s)                                                       Class Representative      Case Information
Bechtel National, Inc.                                             Nathaniel Fairley         Knight, et al v. Bechtel National, Inc., et al , E.D. La. No. 10-3128
CH2M HILL Constructors, Inc.                                       Nettie Haynes             Blunt, et al v. Lakeside Park Homes, Inc., et al , E.D. La. No. 09-4341
Fluor Enterprises, Inc.                                            Solomon Thompson          Thompson, et al v. Stewart Park Homes, Inc., et al , E.D. La. No. 09-4993
Shaw Environmental, Inc.                                           Geryal R. Davis           Davis, et al v. Lakeside Park Homes, Inc., et al , E.D. La. No. 09-5226
American Radiation Services, Inc.; B&I Services, LLC; Davis        Lawrence Robertson, Sr.   Jones, et al. v. Gulf Stream Coach, Inc., et al , E.D. La. No. 09-8700
Professional Services, LLC; Multitask, LLC; DC Recovery
Systems, Inc.; Jacquet Construction Services, LLC; MLU
Services, Inc.; PRI/DJI; Del-Jen, Inc.; Project Resources, Inc.;
Smith Research Corporation, Inc.; TKTMJ, Inc.; T-Mac, Inc.




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